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IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF ILLINOIS )
EASTERN DIVISION 2002 JUN 6 ps 9: 95
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GRACE OLECH, and PHYLLIS Ss. us pissin
ZIMMER, as Independent % UisiRiCT COURT

Executor of the Estate of
Thaddeus F. Olech, Decedent,

Plaintiffs,

-Vs~.
No. 97 C 4935
VILLAGE OF WILLOWBROOK, an
Illinois municipal corporation,
GARY PRETZER, individually and
as President of Defendant
VILLAGE OF WILLOWBROOK, and
PHILIP J. MODAFF, individually
and as Director of Public
Services of Defendant VILLAGE
OF WILLOWBROOK,

Magistrate Judge Schenkier

Defendants.

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PLAINTIFFS’ MOTION FOR No? 2002

RECONSIDERATION WITH RESPECT TO CERTAIN
FACTS DEEMED ESTABLISHED UNDER FED.R.CIV.P. 56(d)

NOW COME the Plaintiffs, GRACE OLECH, and PHYLLIS S. ZIMMER,
as Independent Executor of the Estate of Thaddeus F. Olech,
Decedent, by and through their attorney, JOHN R. WIMMER, and move
this Court for reconsideration with respect to certain facts deemed
established pursuant to Fed.R.Civ.P. 56(d) as hereinafter stated,
and, in support of said motion, allege and state as follows:

i. That on May 23, 2002, this Court entered a Memorandum
Opinion And Order which denied the Defendants’ motion for summary
judgment.

2. That said Memorandum Opinion And Order states, "The facts
set forth in Section II of this opinion are without substantial

controversy, and thus shall be deemed established for purposes of

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trial. Fed.R.Civ.P. 56(d)." (Memorandum Opinion And Order, p.
46.)

3. That there are three statements of fact set forth in
Section II of the Memorandum Opinion And Order which the Plaintiffs
believe are and were disputed, and are not without substantial
controversy, and the controversy concerning which may have been
overlooked or misapprehended by this Court.

4. That, more specifically, with regard to Mr. Gorski’s
letter of November 10, 1995, to Mr. Wimmer, the Memorandum Opinion
And Order stated:

"In his letter, Mr. Gorski stated that the Village

was “moving off of the policy of asking for...

dedication and adopting the unique standard applicable

to this request or this situation’ and that the

proposal was ‘consistent with Village policy regarding

all other property in the Village’ (DSOF [par.] 184;

PRF [par.] 184)."

(Memorandum Opinion And Order, p. 24.)

5. That, in fact, although the letter did state that the
proposal was “consistent with Village policy regarding all other
property in the Village," the letter did not state that the Village
was "Moving off of the policy of asking for . . . dedication and
adopting the unique standard applicable to this request or this
situation." Defendants’ Paragraph 184 of Defendants’ Statement of
Facts ("DSOF"), which was the source of the latter quote, stated
that in the letter "Mr. Gorski intended to relate [not that he
did relate] that the village was ‘moving off of the policy of
asking for that dedication and adopting the unique standard
applicable to this request or this situation.’" (Emphasis added.)
In the Plaintiffs’ Responsive Facts ("PRF"), the Plaintiffs denied
Defendants’ Paragraph 184 and, in support of the denial, cited the

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letter itself. (Pl. Ex. 25). (PRF, par. 184) The Plaintiffs
stated:

"The jury is entitled to believe that what Gorski

intended to relate in the November 10, 1995, letter to

Mr. Wimmer was what he said in the letter, and not

Gorski’s subsequent unbelievable explanation that he

did not intend what he said. Gorski’s letter did not

state that the village had a ‘policy’ of asking for

dedication. (Pl. Ex. 25) Concerning the fifteen foot

easement, and the temporary construction easement of

five feet on each side, Gorski wrote, ‘This is

consistent with Village policy regarding all other

property in the Village.’ (Pl. Ex. 25) What is

consistent with ‘all other property in the Village’ is

not a unique standard applicable to this situation."

(PREF, par. 184)

6. That, with regard to the letter to the Plaintiffs dated
October 3, 1995, the Memorandum Opinion And Order stated that "Mr.
Gorski told the plaintiffs that the Village was determined to
maintain its position regarding the proposed easement, and asked
the plaintiffs to reconsider the 33-foot dedication (DSOF [par.]
151; Def.’s Ex. D, pp. 112-13)." Memorandum Opinion And Order, p.
21.)

7. That, as stated by the Plaintiffs in Paragraph 151 of
PRF, "the village’s position in the letter of October 3, 1995,
which Gorski. advised Modaff to maintain did not set forth the
dimensions in feet of the easement requested by the village,

i.e., it did not state that the village was requiring a 33-foot
easment. (Pl. Ex. 14, pp. 106-107; Pl. Ex. 35)" In addition, the
letter, which was Plaintiff’s Exhibit 35, was written by Mr.
Modaff, not Mr. Gorski.

8, That, with regard to the Arabian Knights Horse Farm, this
Court’s Memorandum Opinion And Order stated in footnote 15 that

"{Le]arlier in September 1995, the Village asked Michael Vena, the

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property owner of the Horse Farm, for a 33-foot dedicated
right-of-way as a condition for issuing the necessary permits for a
-Sanitary sewer extension project that Mr. Vena needed to construct
public restrooms on his property (DSOF [par.] 125})." (Memorandum
Opinion And Order, p. 20.)

9. That, in fact, although it is undisputed that the Village
asked Michael Vena, the property owner of the Horse Farm, for a
33-foot dedicated right-of-way, and that Mr. Vena dedicated the
33-foot strip of land, the Plaintiffs vigorously disputed the
allegation that the request was ever made a condition of any
permit. As noted by the Plaintiffs in their response to
Defendants’ Paragraph 104, which was incorporated by reference in
the Plaintiffs’ response to Defendants’ Paragraph 125, "Fay
testified that, if the dedication was made a condition of the
issuance of a permit, that would have been communicated to the
owner in writing. (Pl. Ex. 11, p. 81)" As noted by the Plaintiffs
in their response to Defendants’ Paragraph 104, "Vena stated that
he did not think Willowbrook ever stated to him in writing that the
dedication of Tennessee Avenue was a condition of a permit. (Pl.
Ex. 27, pp. 20-21)" As noted by the Plaintiffs in their response
to Defendants’ Paragraph 104, "Fay testified that there was no
written communication to the owner of the Horse Farm which
indicated that dedication of Tennessee Avenue was a condition of
any permit. (Pl. Ex. 12, pp. 25-26)" As noted by Plaintiff’s in
their response to Defendants’ Paragraph 104, Fay first testified
that dedication was "made a condition of the permit of a sanitary
sewer extension needed by the Horse Farm (Pl. Ex. 11, p. 76)," and
then, at a subsequent deposition, "testified that there was. no

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permit issued by Willowbrook for the sanitary sewer extension for
the Horse Farm. (P1.Ex. 12, p. 7)" As noted by Plaintiffs in
their response Defendants’ Paragraph 104, Fay then "stated that the
dedication of Tennessee Avenue was made a condition of the issuance
of the occupancy permit... (Pl. Ex. 12, pp. 6-7)," but that
"there was nothing on the occupancy permit itself which indicated
that dedication of Tennessee Avenue was a condition thereof (Pl.
Ex. 12, p. 18}," and that "the owner of the Horse Farm had already
executed the plat of dedication of Tennessee Avenue before he even
applied for the occupancy permit. (Pl. Ex. 12, pp. 35-38)" The
Plaintiffs pointed out other facts in their response to Defendants’
Paragraph 104 to dispute the notion that the dedication by Vena was
made a condition by Willowbrook of the issuance of a permit, and,
in this regard, the Plaintiffs incorporate herein by reference
their entire response to that paragraph.

WHEREFORE, for the above and foregoing reasons, the
Plaintiffs, GRACE OLECH, and PHYLLIS S. ZIMMER, as Independent
Executor of the Estate of Thaddeus F. Olech, Decedent, respectfully
request this Court to reconsider with respect to the statements of
fact set forth in paragraphs 4, 6, and 8 of this motion, to allow

the Plaintiffs to offer evidence at the trial to controvert those
alleged facts, and to grant the Plaintiffs, and each of them, such
other and further relief as is proper and just in the premises.

Respectfully submitted,

JOHN R. WIMMER __) C) I)
Attorney at Law Cc) Vabnon

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

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BRACE OLECH, stall.
PLAINTIFF _ | CASE NO. GQ Cc 192 Be

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VS. | JUDGE “Sche en ke Let

VILLAGE OF sso otal,

DEFENDANT
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PROOF OF SERVICE

 

 

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CREATED ON 2/22/02
